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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

ROQUE “ROCKY” DE LA FUENTE and               :
ROCKY 2016 LLC,                              :
                                             :
      Plaintiffs,                            :      Civil Action No.:     18-336 (RC)
                                             :
      v.                                     :      Re Document Nos.:     6, 14
                                             :
DNC SERVICES CORPORATION and                 :
DEBORAH WASSERMAN SCHULTZ,                   :
                                             :
      Defendants.                            :

                                        ORDER

                         GRANTING DEFENDANTS’ MOTION TO DISMISS;
                        DENYING PLAINTIFFS’ MOTION TO CONSOLIDATE
      For the reasons stated in the Court’s Memorandum Opinion separately and

contemporaneously issued, it is hereby ORDERED that Defendants’ motion to dismiss (ECF

No. 6) is GRANTED, and Mr. De La Fuente’s Motion to Consolidate (ECF No. 14) is

DENIED. It is FURTHER ORDERED that Mr. De La Fuente’s complaint is DISMISSED

WITHOUT PREJUDICE.

      SO ORDERED.


Dated: April 23, 2019                                        RUDOLPH CONTRERAS
                                                             United States District Judge
